Case 2:16-cr-20810-GCS-EAS ECF No. 135, PageID.3332 Filed 12/14/20 Page 1 of 6


                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

                                             )
UNITED STATES OF AMERICA,                    )
           Plaintiff                          ) Case No. 16-CR-20810-04
                                             )
v.                                            ) Honorable George Caram Steeh
                                             )
TAKATA CORPORATION,                          )
         Defendant.                          )


                ORDER GRANTING SPECIAL MASTER’S
          REQUEST FOR APPROVAL OF SIXTH DISTRIBUTION
           OF INDIVIDUAL RESTITUTION FUND [ECF No. 133]

     Upon the request of Eric D. Green in his capacity as Special Master for

approval of the fourth distribution of the Individual Restitution Fund: 1

IT IS HEREBY ORDERED AND ADJUDGED as follows:

       1. The Court APPROVES the Special Master’s determinations and

recommendations regarding the Claimants listed in Exhibit A to the Distribution

Request. The Special Master shall distribute the amount of $638,166.87 to the

Claimants listed in Exhibit A.

       2. All objections submitted in connection with this Request are
OVERRULED.



1
 Capitalized terms used but not defined herein shall have the meanings set forth in the Special
Master’s Request for Approval of First Distribution of Individual Restitution Fund (the
“Distribution Request”).
Case 2:16-cr-20810-GCS-EAS ECF No. 135, PageID.3333 Filed 12/14/20 Page 2 of 6


      3. The Court APPROVES the Special Master’s determination that the
claims of the Claimants set forth in Exhibit B are ineligible for compensation from
the Individual Restitution Fund.
      4. The Court APPROVES conditioning payment from the IRF to

individuals represented by counsel on execution of a rider by counsel

acknowledging and agreeing to abide by the restriction on attorney’s fees set forth

in the IRF Methodology Order.

      5. The Court DIRECTS that Distributions shall be made in accordance

with the procedures set forth in the Revised IRF Methodology.

      6. This Court retains jurisdiction over all matters covered by, or related to,

this Order.

So ordered.

Dated: December 14, 2020

                                   s/George
                                         Caram Steeh
                                   GEORGE CARAM STEEH
                                   UNITED STATES DISTRICT JUDGE
Case 2:16-cr-20810-GCS-EAS ECF No. 135, PageID.3334 Filed 12/14/20 Page 3 of 6


                                EXHIBIT A
    Case 2:16-cr-20810-GCS-EAS ECF No. 135, PageID.3335 Filed 12/14/20 Page 4 of 6




1
    Calculated at $71.01 per point.
Case 2:16-cr-20810-GCS-EAS ECF No. 135, PageID.3336 Filed 12/14/20 Page 5 of 6


                                 EXHIBIT B
Case 2:16-cr-20810-GCS-EAS ECF No. 135, PageID.3337 Filed 12/14/20 Page 6 of 6
